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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

WESLEY DANIEL VINEY,

Plaintiff,

v.                                                          Civil Action No.: 22-cv-00041-LKG

CRAIG ROBERSON, et al.

Defendant.

                                            ORDER

        THIS MATTER came before the Court on Defendant Craig Robertson and Defendant

Daniel Lasher’s Motion for Extension of Time to File Response. ECF No. ___. The motion is

hereby granted.

        Accordingly, it is this ___ day of June, 2022, by the United States District Court for the

District of Maryland, hereby ORDERED that:

        1.       Defendant’s Motion for Extension of Time (ECF No. ___) is GRANTED to and

including August 9, 2022; and

        2.       The Clerk SHALL PROVIDE a copy of this Order to Plaintiff and to counsel for

Defendant.



                                                    ________________________________
                                                    LYDIA KAY GRIGGSBY
                                                    United States District Judge
